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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

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Wade Ervin Gangruth,                                          Court File No. 19-cv-2878 (PJS/LIB)

                       Plaintiff,

       vs.                                                       ORDER ADOPTING
                                                          REPORT AND RECOMMENDATION
City of Scanlong, et al.,

                       Defendants.

                            * * * * * * * * * * * * * * * * * *

       Based upon the Report and Recommendation of United States Magistrate Judge Leo I.

Brisbois, and after an independent review of the files, records and proceedings in the above-entitled

matter, IT IS ORDERED:

   1. Defendants City of Scanlon, Marshall Johnson, Lori Stigers, James Pratt, Allan Wallin,

       Mike Berthiaume, and Scott Beodigheimer’s Motion to Dismiss in Lieu of Answer,

       [Docket No. 11], is GRANTED;

   2. Defendant Dennis Korman’s Motion to Dismiss, [Docket No. 17], is GRANTED;

   3. Plaintiff’s Motion to Move Court for Summary Judgment, [Docket No. 44], is STRICKEN

       as filed in error; and

   4. Plaintiff’s Complaint, [Docket No. 1], in its entirety, is DISMISSED with prejudice.

LET JUDGMENT BE ENTERED ACCORDINGLY.



DATED: 10/20/20                                       _____________________________
At Minneapolis, Minnesota                             Patrick J. Schiltz, Judge
                                                      United States District Court
